

Matter of Horvath v Eagan (2021 NY Slip Op 00783)





Matter of Horvath v Eagan


2021 NY Slip Op 00783


Decided on February 5, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 5, 2021

PRESENT: SMITH, J.P., CARNI, NEMOYER, TROUTMAN, AND BANNISTER, JJ. (Filed Feb. 5, 2021.) 


MOTION NO. (626/20) OP 19-02281.

[*1]IN THE MATTER OF ROBERT HORVATH, PETITIONER, HON. 
vSUSAN EAGAN, AS ERIE COUNTY COURT JUDGE, LETITIA JAMES, AS NEW YORK STATE ATTORNEY GENERAL, JOHN J. FLYNN, AS ERIE COUNTY DISTRICT ATTORNEY AND HON. EDWARD PACE, AS ORCHARD PARK TOWN COURT JUDGE, RESPONDENTS.



MEMORANDUM AND ORDER
Motion for reargument denied.








